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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF GEORGIA

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IN'RE :           GENERAL ORDER OF THE COURT REGARDING REGISTRY FE E



                                               O R D E R


          It appearing to the Court that in view of a memorandum dated November 19, 1990, from Mr .

L. Ralph Mecham, Director of the Administrative Office of the United States Courts, an order of

directions and authority to the Clerk of this Court is appropriate and necessary .

           IT IS THEREFORE ORDERED that the Clerk of this Court is hereby authorized and directed to

comply with the procedures as set out in the aforementioned memorandum of Mr. Mecham, to collect

a registry fee on all funds invested at interest in the Registry of this Court, including criminal-bond

money deposited at interest . The amount of the fee shall be ten (10%) percent of the income earned

regardless of the nature of the case underlying the investment . The collection of said fee shall be at

the time any distribution of funds are made by the Clerk of Court, and without the necessity of any

further order of this Court . This fee shall be effective, beginning with the deposit of funds on or after

December 1, 1990.

           IT IS FURTHER ORDERED that when a deposit is made into the Registry of this Court, all

attorneys of record in said case shall be served with a copy of this Order until a Local Rule has bee n

promulgated concerning this matter.

          SO ORDERED, this jo~:Yday of Cr, eeeti bo- + . 1990.




                                                            AVA E FIELD, Chief Judge
                                                          United S es District Court
                                                          Southe District of Georgi a
                                                      Date : /'.?c, C.► r

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